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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ART AKIANE LLC,                                         )
                                                         )
          Plaintiff,                                     )
                                                         )   Case No. 19-cv-02952
 v.                                                      )
                                                         )   Judge Edmond E. Chang
 ART & SOULWORKS LLC,                                    )
 CAROL CORNELIUSON, and                                  )
 CARPENTREE, INC.,                                       )
                                                         )
          Defendants.                                    )
 ------------------------------------------------------- )
                                                         )
 ART & SOULWORKS LLC, and                                )
 CAROLYNE CORNELIUSON,                                   )
                                                         )
          Defendants - Counter-Plaintiffs,               )
                                                         )
 v.                                                      )
                                                         )
 ART AKIANE LLC,                                         )
                                                         )
          Plaintiff - Counter-Defendant,                 )
                                                         )
 and                                                     )
                                                         )
 AKIANE ART GALLERY, LLC, and                            )
 AKIANE KRAMARIK,                                        )
                                                         )
          Counter-Defendants.                            )

           NOTICE OF SERVICE OF ART & SOULWORKS LLC AND
        CAROLYNE CORNELIUSON’S MANDATORY INITIAL DISCOVERY
                    DISCLOSURES TO ALL PARTIES

       PLEASE TAKE NOTICE that in accordance with the Court’s Standing Order Regarding

Mandatory Initial Discovery Pilot Project, the undersigned certifies that on November 1, 2019,

Defendants Art & SoulWorks and Carolyne Corneliuson served their mandatory initial discovery

disclosures to Art Akiane LLC, Akiane Art Gallery, LLC, Akiane Kramarik and Carpentree, Inc.
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Dated: November 1, 2019                   Respectfully submitted,

                                          /s/ Nicole N. Auerbach

                                          Nicole N. Auerbach
                                          Patrick J. Lamb
                                          Salvador Carranza
                                          ELEVATENEXT LAW
                                          218 N. Jefferson Street, Suite 300
                                          Chicago, IL 60661
                                          (312) 676-5460 - Telephone
                                          (312) 676-5499 - Facsimile
                                          nicole.auerbach@elevatenextlaw.com
                                          Patrick.lamb@elevatenextlaw.com
                                          Salvador.carranza@elevatenextlaw.com




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 1, 2019, a true and correct copy of the

foregoing Notice of Service of Defendants’ Initial Disclosures was served upon all counsel of

record via the Court’s ECF System.

       Adam Wolek
       Rashad A. Simmons
       Marcus S. Harris
       TAFT STETTINIUS & HOLLISTER LLP
       111 E. Wacker Drive, Suite 2800
       Chicago, IL 60601
       awolek@taftlaw.com
       rsimmons@taftlaw.com
       mharris@taftlaw.com

       Michael L. Hahn
       Ryan D. Janski
       Litchfield Cavo LLP
       303 W. Madison Street, Suite 300
       Chicago, IL 60606
       hahn@litchfieldcavo.com
       janski@litchfieldcavo.com


                                                           /s/ Nicole N. Auerbach
                                                           Nicole N. Auerbach




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